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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

MATTHEW SPECTOR                               *       CIVIL ACTION NO. 2:18-cv-08806

VERSUS                                        *       SECTION “G” – DIVISION “1”

USAA CASUALTY INSURANCE                       *       JUDGE NANETTE JOLIVETTE
COMPANY, USAA GENERAL                                 BROWN
INDEMNITY COMPANY, CITY                       *
OF NEW ORLEANS, WALLACE                               MAGISTRATE JANIS VAN
C. DRENNAN, INC., and SEWERAGE                *       MEERVELD
AND WATER BOARD OF NEW
ORLEANS                                       *


                        MEMORANDUM IN SUPPORT OF
                  DEFENDANT’S RULE 12(B)(6) MOTION TO DISMISS


TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA, MAY IT PLEASE THE COURT:

                                       INTRODUCTION

       Crossclaim-Defendant, Wallace C. Drennan, Inc. (“Drennan”), moves to dismiss the

Crossclaim filed by Sewerage and Water Board of New Orleans (“S&WB”) for failure to state a

claim upon which relief can be granted pursuant to Fed. R. Civ. P. 12(b)(6) or, in the alternative,

their claim for “defense” reimbursement. The Crossclaim filed by the S&WB arise out of a

contract executed between S&WB and Drennan (Contract 30203), notably specific clauses cited

by S&WB that they allege require Drennan to defend and indemnify them from the claims

originally filed by Plaintiff, Matthew Spector.

       First, nowhere in the clauses cited by S&WB does it call for Drennan to cover their

defense costs in this lawsuit. Regardless, S&WB alleges that they are entitled to recover “from

and against Drennan all of the S&WB’s expenses, costs, disbursements, and attorneys’ fees


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incurred in defense of the Amended Complaint.” This claim is not rooted in fact or law; defense

is entirely different from indemnity, and both require explicit language in the agreement calling

for such obligations. There is no obligation for Drennan to cover defense. Therefore, S&WB’s

claims rooted in that cause of action must be dismissed with prejudice.

          Furthermore, regarding S&WB’s claim for indemnity, said claim is premature under

Louisiana law. S&WB cannot litigate a claim that is not actionable yet. There has not been a

finding against S&WB in favor of Plaintiff, and thus their claim for indemnity has not ripened

yet. In addition, the clause cited by the S&WB requires a finding of liability and/or negligence

on the part of Drennan in order for the clause to become effective; there has been no such finding

yet. After all, this litigation is still in its infancy, and fault/liability has not been adjudicated.

Louisiana law is clear that an indemnitor is not liable under an indemnity agreement until the

indemnitee actually makes payment or sustains a loss. Here, the indemnitee, S&WB, has neither

made a payment nor sustained a loss. Accordingly, their claim for indemnity is premature, and

this Honorable Court should dismiss that claim as well.

                    FACTUAL BACKGROUND & PROCEDURAL HISTORY

          Plaintiff, Matthew Spector, filed a Petition for Damages in state court on or about August

    3, 2018, naming S&WB and Drennan as defendants, among others. The matter was removed to

    this Honorable Court on or about September 20, 2018.1 After various Rule 12 motions were

    filed, argued, and adjudicated, Plaintiff filed the Amended Complaint and Jury Demand on

    February 28, 2019.2 In the Amended Complaint, Plaintiff alleges that the S&WB and the City

    of New Orleans (another co-defendant) agreed to repair and replace street drainage at or near




1
    Doc. 1 – Notice of Removal
2
    Doc. 48 – Amended Complaint and Jury Demand

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    Plaintiff’s residence.3 Plaintiff further alleges that this work was put up for bid and Drennan

    won said bid, and began work in the summer of 2017.4                Plaintiff alleges that the work

    performed was faulty and led to excessive pooling of water on his property, which allegedly

    damaged his home.5

          S&WB filed their Answer to the Amended Complaint on April 3, 2019, which included a

    Crossclaim against Drennan.6      In their Crossclaim, S&WB alleges that they entered into

    Contract 30203 with Drennan, which covered the aforementioned street repairs near Plaintiff’s

    home, and which included the following paragraphs:

          “The Contractor will maintain, at his own cost and expense, and in good standing, such
          insurance as will protect the Sewerage and Water Board of New Orleans (the Board), the
          City of New Orleans (the City), their officers, officials, employees, boards, commissions,
          and volunteers, as well as the Contractor himself and any Subcontractors from and
          against any and all claims for damages to public and private property and personal injury,
          including death, to employees or to the public, which may arise from any operations
          under this contract or any of its subcontracts.”7

          “The Contractor shall indemnify and save harmless the Sewerage and Water Board from
          all suits and actions that may be brought against it by reasons or any injury, or alleged
          injury, to the person or property of another, resulting from negligence or carelessness in
          the execution of the work, or because of failure to properly light and guard the same, or
          on account of any act of commission of omission on the part of the Contractor, his
          representative or employees.”8

          S&WB cites these clauses in support of their allegation that “Drennan is liable to the

    S&WB for defense and indemnity from, and contribution to, any and all claims brought against

    the S&WB arising from Drennan’s performance under the Cont[r]act.”9 S&WB further alleges

    that they are “entitled to recover from and against Drennan all of the S&WB’s expenses, costs,

3
  Id., paragraph 18
4
  Id., paragraphs 19-20
5
  Id., paragraphs 22-24
6
  Doc. 60 – Answer and Affirmative Defenses to Amended Complaint and Jury Demand, and Crossclaim against
Wallace C. Drennan, Inc.
7
  Id., Crossclaim, paragraph 6
8
  Id., Crossclaim, paragraph 7
9
  Id., Crossclaim, paragraph 8

                                                     3
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 disbursements, and attorneys’ fees incurred in defense of the Amended Complaint” and that “if

 the S&WB is held liable to petitioner Matthew Spector in the Amended Complaint, then the

 S&WB is entitled to indemnification, reimbursement, recovery, and contribution from

 Drennan.”10

                                         LAW & ARGUMENT

     A. Rule 12(b)(6) Standard

        Federal Rule of Civil Procedure 12(b)(6) allows for dismissal of an action “for failure to

state a claim upon which relief can be granted.” While a complaint attacked by a Rule 12(b)(6)

motion does not need detailed factual allegations, in order to avoid dismissal, the plaintiff’s

factual allegations “must be enough to raise a right to relief above the speculative level.”11 The

United States Supreme Court recently expounded on the Twombly standard, explaining that a

complaint must contain sufficient factual matter to state a claim to relief that is plausible on its

face.12 “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”13

In evaluating a motion to dismiss, the Court must construe the complaint liberally and accept all

of the plaintiff’s factual allegations in the complaint as true.14

     B. The clauses cited by S&WB do not call for Drennan to defend the S&WB in this
        lawsuit; therefore, all of S&WB’s claims seeking defense, defense reimbursement,
        etc. should be dismissed with prejudice.

        When the words of a contract are clear and explicit and lead to no absurd consequences,




10
   Id., Crossclaim, paragraph 9
11
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964-65, 167 L.Ed.2d 929 (2007); See also
Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007)
12
   Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009)
13
   Id.
14
   In re Katrina Canal Breaches Litigation, 495 F.3d 191, 205 (5th Cir. 2009)

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 no further interpretation may be made in search of the parties’ intent. 15 An indemnity contract

 should not be read to impose liability for those losses or liabilities which are neither expressly

 within its terms nor of such a character that it can be reasonably inferred that the parties

 intended to include them within the indemnity coverage.16

        Here, nowhere in the clauses cited by the S&WB exists an obligation for Drennan to

 defend S&WB or reimburse them for defense costs in the present suit. The word “defense”

 does not appear and S&WB is apparently inferring that it is implied that Drennan cover their

 defense costs based off the language of the clauses. That is simply contrary to the law. The

 words of these clauses are clear and the only relevant language – “shall indemnify and hold

 harmless” simply does not include any obligation regarding defense. It is not appropriate to go

 outside of the clear language of the contract, as the law makes clear in Louisiana Civil Code

 Article 2046.

        In Faucheaux v. Prytania Medical Complex Owners Ass’n, the appellate court was tasked

 with the interpretation of certain indemnity provisions in a lease agreement between two

 parties.17 The provisions, in pertinent part, stated:

        “Lessee…shall at all times save and keep Lessor free and harmless from any and all
        damages or liability, including damages to the property of Lessor, occasioned by any act
        of neglect of Lessee, or any agent or employee of Lessee, or any tenant or person holding
        under Lessee, and shall indemnify and save harmless Lessor against and from any loss,
        costs, damage and expenses arising out of or in connection with…any accident to or
        injury to any person or property…”18

        The Fourth Circuit Court of Appeal for the State of Louisiana, overturning the trial

 court’s ruling, held that the above provision did not include a “duty to defend.” 19 The court


15
   Louisiana Civil Code Art. 2046
16
   Hudson v. Kim Susan, Inc., 2007 U.S. Dist. LEXIS 25895 (E.D. La. Apr. 5, 2007)
17
   93-2042 (La. App. 4 Cir. 8/17/94), 642 So.2d 242, 243
18
   Id. at 243-244
19
   Id. at 244

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 noted that the obligations imposed by that paragraph encompassed “the loss, costs, damages,

 and expenses that Prytania may incur,” but there was “no mention of assuming Prytania’s

 defense.”20

        Similarly, in Robin v. Wong, the appellate court was tasked with deciding whether the

 language “any claims, loss, or damages” contained in an indemnity clause embraced the costs of

 defense, including attorney’s fees.21 The relevant provision stated: “Contractor (HealthFocus)

 shall hold the Hospital (Methodist) harmless for any claims, loss, or damage which the Hospital

 may suffer as a result of any act of contractor or its agents or employees.” 22 Finding the

 language of the contract to be strikingly similar to the language in the Faucheaux case, the

 Robin court held that the indemnification clause at issue excluded a duty to defend.23

        Similar to the Faucheaux and Robin provisions, the clauses cited by S&WB do not

contain any language regarding a duty to defend on behalf of Drennan. The language cited by

S&WB only reference a duty to “indemnify” and “hold harmless” – there is no mention at all of

a duty to “defend.” To the extent that S&WB is going to argue that “all suits and actions” covers

defense, the courts in Faucheaux and Robin make it clear that a duty to defend requires specific

language that encompasses such a duty. There is no such language in the provisions cited by

S&WB. Accordingly, as the law is clear on this issue, Drennan has no duty to defend S&WB.

Thus, S&WB’s claims relating to defense costs, defense reimbursement, and the like must be

dismissed with prejudice.




20
   Id.
21
   07-0547, p. 4 (La. App. 4 Cir. 10/24/07), 971 So.2d 368, 388
22
   Id. at 387
23
   Id. at 389

                                                         6
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     C. S&WB’s claims for indemnity are premature under Louisiana law, as S&WB has
        not made a payment or sustained a loss, and because there has been no adjudication
        as to liability, fault, or negligence. Accordingly, S&WB’s claims for indemnity must
        also be dismissed.

        Indemnity means reimbursement, and may lie when one party discharges a liability,

which another rightfully should have assumed.24 It is based on the principle that everyone is

responsible for his own wrongdoing, and if another person has been compelled to pay a judgment

which ought to have been paid by the wrongdoer, then the loss should be shifted to the party

whose negligence or tortious act caused the loss.25 Thus, an action for indemnity is a separate

substantive cause of action, arising at a different time, independent of the underlying tort, with its

own prescriptive period.26

        The purpose of an indemnity agreement is to allocate the risk inherent in the activity

between the parties to the contract.27 However, an indemnitor is not liable under an indemnity

agreement until the indemnitee actually makes payment or sustains a loss.28

        The Louisiana Supreme Court in Suire v. Lafayette City-Parish Consolidated

Government has addressed the issue of whether a co-defendant’s cross-claim against another co-

defendant under an indemnity agreement was premature.29                        The Suire case involved a

homeowner filing suit against the City of Lafayette, Boh Brothers (the contractor), and Dubroc

(the engineer), for property damage to his own arising out of dredging operations. 30 The City

and Dubroc filed cross-claims against Boh Brothers arising out of an indemnity provision



24
   Id., citing Reggio v. E.T.I., 07-1433 (La. 12/12/08)
25
   Id., citing Reggio, 15 So.3d at 955
26
   Id.
27
   Id. at pp. 5-6, citing Naquin v. Louisiana Power & Light Company, 05-2103 (La. App. 1 Cir. 9/15/06), 943 So.2d
1156, 1161, writ denied, 06-2476 (La. 12/15/06), 945 So.2d 691
28
   Id. at p. 6, citing Suire v. Lafayette City-Parish Consolidated Government, 04-1459, 04-1460, 04-1466 (La.
4/12/05), 907 So.2d 37, 51
29
   Suire, 907 So.2d at 51
30
   Id. at 50

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contained in the contract between the City and Boh Brothers.31 The issue went up to the

Louisiana Supreme Court, who held that the cross-claims for defense under an indemnity

agreement were premature.32 The Supreme Court reasoned:

        “An indemnitor is not liable under an indemnity agreement until the indemnitee ‘actually
        makes payment or sustains loss.’33 Thus, this court has held that ‘a cause of action for
        indemnification for cost of defense does not arise until the lawsuit is concluded and
        defense costs are paid.’34 As this lawsuit is still pending, and no determination of liability
        has been made, the court of appeal erred in finding that [the contractor] owed a duty to
        defend, or pay for defense costs, under the terms of the contractual indemnity provision.
        We therefore reverse the court of appeal’s holding that [the contractor] owed a duty as a
        matter of law to defend the City and [the engineer], and defer this claim until the lawsuit
        is concluded and liability is determined.”35

        In the present case, the provisions cited by S&WB require a finding of negligence on the

part of Drennan, which has not been done yet. The law also requires a payment made by the

indemnitee (S&WB) or a loss sustained by the indemnitee (S&WB) before indemnity comes into

effect. That has not occurred yet either.

        Drennan is not yet arguing that S&WB does not have a legitimate claim for indemnity,

and Drennan expressly reserves the right to challenge that legitimacy when the time comes. But

the time simply has not come yet for the indemnity provision to become actionable. It is

unreasonable to allow S&WB to move forward with their Crossclaim and go through discovery

when there has been no adjudication of liability and when S&WB has not sustained a loss or

made a payment yet. Drennan should not be expected to expend costs defending a claim that is

not yet actionable under relevant law.

        Accordingly, S&WB’s claim for indemnity against Drennan is premature and, thus, their

claims fall short under the standard set forth under Rule 12(b)(6). The time to bring such a claim

31
   Id.
32
   Id. at 51
33
   Id., citing Meloy v. Conoco, Inc., 504 So.2d 833, 839 (La. 1987)
34
   Id., citing Morella v. Bd. of Comm’rs, 04-0312 (La. App. 4 Cir. 10/27/04), 888 So.2d 321, 325
35
   Id.

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is at the conclusion of this lawsuit, and only after certain conditions are met (finding of

negligence or worse on Drennan, S&WB paying Plaintiff for damages, etc.). To the extent that

this Honorable Court finds that the provisions do require a duty to defend, Drennan avers that

those claims are premature as well. Either way, this Honorable Court should dismiss S&WB’s

claims under Rule 12(b)(6).

                                         CONCLUSION

       It is clear from the plain language of the contractual provisions cited by S&WB that there

 is no duty to defend on the part of Drennan. The word “defense” does not appear and said duty

 is in no way implied. Louisiana courts have already interpreted similarly-worded provisions

 and have held that a duty to defend is not included unless explicitly called for. The provisions

 here do not require a duty to defend, and S&WB is overreaching here with their allegation that

 Drennan is obligated to do so. Even if this Honorable Court does not conclude that S&WB’s

 claims for indemnity are premature, this Court should dismiss (with prejudice) their claims

 related to any duty to defend as such claims are simply not rooted in fact or law.

       Regarding their claims for indemnity, said claims are premature and are not yet

 actionable under applicable Louisiana law. Certain conditions need to be met before S&WB

 can claim indemnity under Contract 30203, including: (1) A finding of negligence or fault on

 the part of Drennan; and (2) S&WB must make a payment or sustain a loss as a result of

 Plaintiff’s suit. None of those conditions have been met yet. Accordingly, S&WB’s claims for

 indemnity have not yet ripened, and they must be dismissed as well.




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                                             Respectfully submitted,

                                             LOEB LAW FIRM

                                      BY:    /s/ Sean McAllister
                                             J. SCOTT LOEB (#25771)
                                             SEAN MCALLISTER (#35900)
                                             1180 West Causeway Approach
                                             Mandeville, Louisiana 70471
                                             Telephone:     (985) 778-0220
                                             Facsimile:     (985) 246-5639
                                             Email:         sloeb@loeb-law.com
                                             Attorneys for Defendant, Wallace C. Drennan, Inc.




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 18th day of April 2019, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system which will send a notice of electronic
filing to counsel for all parties to this proceeding.

                                             /s/ Sean McAllister
                                             SEAN MCALLISTER




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